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                  EXHIBIT F
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                          United States District Court


                         Northern District of California




                          Case No.: 3:18-cv-01586-JSC




              IN RE PACIFIC FERTILITY CENTER LITIGATION




                    Expert Report of David Wininger, Ph.D.


                  November 6, 2020, Amended December 4, 2020




                                                               Exhibit F


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I.      QUALIFICATIONS

        1.     For over 30 years, I have been an IVF Laboratory Director, an active

embryologist, and an embryology consultant. I received my MS in Biotechnology in 1988 and

my Ph.D. in Zoology in 1990 from the University of Tennessee. I have designed five IVF labs

which involved working with architects, engineers, and air filtration experts. I am active in

research and have published multiple scientific articles, book chapters, and abstracts. I have also

presented at multiple scientific meetings. I am an active member of the American Society for

Reproductive Medicine (ASRM), The American Association of Bioanalysis (ABB) and the

College of American Pathologists (CAP), of which I have been an Inspector for over 20 years. I

also served as Chair of the Validation Committee for the Society for Assisted Reproductive

Technology (SART) for eight years.

        2.     After receiving my Ph.D. in 1990, I began directing an IVF lab in Charlotte, NC. I

moved to Pennsylvania in 1993 and began directing the IVF lab at Abington Memorial Hospital.

In 2008, I moved to Atlanta, GA and became the lab director at Reproductive Biology

Associates, which is the largest fertility program in the Southeast. In 2003, I moved to North

Carolina and became the lab director at Wake Forest University Baptist Medical Center. The first

task I had at Wake Forest was to design their new IVF lab and oversee development of their first

on-site genetic testing program for preimplantation genetic testing (PGT). In 2008, I was asked

to design a new IVF lab in High Point, NC. During that design process I was offered the lab

director position. The Medical Director and several nurses from Wake Forest also joined me at

Premier Fertility Center, and we had a successful fertility program for ten years. I then became

lab director of Atlantic Reproductive Medicine in Raleigh, NC. I have rewritten the embryology

protocols and have retrained several of the embryologists there. I have also served as consultant




                                                 1
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IVF lab director for multiple labs. I am currently a consultant lab director for labs in Pittsburgh,

PA, Statesville, NC and Austin, TX.

         3.    All the labs with which I am associated are accredited by CAP and FDA, as well

as holding state licensure. CAP and FDA inspections occur biannually. In preparation for CAP

inspections, all checklists sent by CAP must be examined to ensure that all protocols, quality

control, and quality control documents are in order. There must be evidence of active review of

all IVF outcomes including ICSI, embryo biopsy, cryopreservation and pregnancy rates. There

must be documentation of generator testing and monitoring of all cryopreserved embryo and

oocyte storage tanks. The FDA examines all donor sperm and oocyte infectious disease testing

documents and cryostorage.

II.      ASSIGNMENT

         4.                                                is action on behalf of IVF clients whose

oocytes and embryos were in storage at PFC in a cryogenic storag

March 4, 2018. On that date, laboratory staff at PFC discovered that Tank 4 had suffered a

vacuum failure and loss of liquid nitrogen, resulting in the exposure of th

higher temperature than appropriate and to uncontr

         5.    I was retained to provide my professional opinion concerning the incident and its

impact on Plaintiffs, and to provide background about the IVF process. Specifically, I was asked

to opine as to (i) whether Tank 4 performed as safely as an ordinary user of cryogenic vessels

would expect; (ii) whether Plai                                 damaged by the Tank 4 incident;

                                  and embryos were exposed to dangerous conditions prior to the

Tank 4 incident.




                                                  2
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          6.    I reserve the right to supplement my opinions and address the opinions of any

 expert engaged by the Defendant.

          7.    I have never testified as an expert consultant in litigation. My rates are $450/hour

 for consulting and $600/hour for testifying. My CV, including my publications, is attached as

 Exhibit A.

III.      BACKGROUND

          A.    What is Embryology?

          8.    Embryology is a subfield of developmental biology which is concerned with the

 formation, growth, and development of embryos. It deals with the prenatal stage of development

 beginning with the formation of gametes (sperm and eggs), then fertilization, formation of a

 zygote (a fertilized egg), and development of an embryo and fetus, through to the birth of a new

 individual.

          B.    The In Vitro Fertilization (IVF) Process

          9.    IVF is a method of Assisted Reproductive Technology (ART) which involves the

                                 outside of her body in a laboratory. The fertilized eggs, or

 embryos, are cultured in plastic dishes containing solution that mimics the environment in the

 fallopian tubes. The embryos are normally grown for 5-6 days in the laboratory at which time

 one may be transferred to the pa                               called an embryo transfer (ET).

 The embryos might be cryopreserved, or vitrified, for a future frozen embryo transfer (FET). The

 majority of clinics opt for cryopreservation of all embryos due to higher pregnancy rates when

 FETs are performed.

          10.

 with the use of reproductive hormones, or fertility drugs. Normally a woman produces one egg in




                                                  3
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a normal cycle but with ovarian stimulation using hormones, the number of eggs can be from 2-

                                                  se of hormones. During this process, the MD,

who has training in Reproductive Endocrinology, monitors the growth of the follicles in the

ovaries which contain the eggs. Monitoring involves blood hormone measurements (estrogen and

progesterone) and ultrasounds. When the ovarian follicles reach 18-20 mm in diameter and the

hormone measurements are appropriate, a final injection of a hormone called HCG is given. At

this point, the eggs will be ready to be removed from the ovaries in 34-36 hours.

       11.     Prior to the removal of the eggs, or egg retrieval, an anesthesiologist sedates the

patient in preparation for the procedure. The

Reproductive Endocrinologist with a needle which is attached to suction. All the follicles that

contain the eggs are drained into sterile plastic tubes and are handed through a pass-through

window into the IVF laboratory. There, an embryologist pours the fluid into large plastic dishes

and locates the eggs. This process continues until all ovarian follicles have been drained.

       12.     While the embryologist is locating eggs, an andrologist is preparing the sperm

sample for insemination, the addition of sperm to the eggs. The sperm sample can either be from



saline based solution. It is placed over a viscous solution and centrifuged to remove nonmotile

sperm, white cells, and any other non-sperm cells that may be in the sample. This highly purified

sample is put into an incubator at body temperature until it is needed in a few hours.

       13.     Following the egg retrieval, the oocytes are prepared for the insemination

procedure, which will begin fertilization. The most common method of insemination is

intracytoplasmic sperm injection (ICSI). The first step of this procedure is to determine how

many of the eggs are mature, or at Metaphase II of Meiosis. Only eggs which are at this stage




                                                 4
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have a chance of fertilizing. 3-4 hours after the egg retrieval, the mature eggs will be placed in

drops of a specialized IVF solution, along with a small

sample and put on the stage of an inverted microscope. The sperm is picked up one at a time with

a glass needle and injected into each oocyte. This process will continue until all eggs are

injected. If ICSI is not ordered by the physician, then approximately 50,000 sperm will be added

to each drop of 3-4 eggs. This process is known as conventional insemination and also occurs 3-

4 hours after the egg retrieval.

       14.     The inseminated oocytes are moved to preequilibrated drops of IVF culture media

drops in petri dishes that are covered with sterile oil. The oil holds the drops in place and also

keeps them from evaporating because the drops are very small. The dishes are in temperature and

humidity regulated incubators. The oocytes incubate for 16-18 hours and then are observed for

signs of fertilization. Specifically, the oocytes are observed under a microscope for presence of

two round structures called pronuclei. One structure represents the DNA of the oocyte and the

other the DNA of the sperm. At this point, the fertilized eggs are known as zygotes.

       15.     The embryos remain in culture for five to six days, at which point they should

reach the blastocyst stage. The is an advanced stage or embryo development and not all embryos

make it to this point. Blastocysts are graded by their degree of expansion and also by the grade of

two cell types that are found in blastocysts. The cell types are the inner cell mass (ICM), which

will become the fetus, and the trophectoderm cells (TE) which will become the placenta, amnion,

and chorion of the developing baby. There are three options for the use of the blastocysts.

       16.     First, one embryo can be transferred to the patient and the remainder vitrified.

Second, all blastocysts can be vitrified and used later in a frozen embryo transfer (FET). The

third option is to perform embryo biopsies on the blastocysts in order to determine the genetic




                                                  5
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status of each one. Many IVF clinics perform PGT on all embryos of all of their patients.

Following biopsy, the biopsied cells are loaded into small tubes and placed in the freezer. They

will later be sent to a genetics lab for analysis. The most common genetic test is PGT-A. This

test basically ensures that there are two copies of every chromosome and either XX (female) or

XY (male). Pregnancy rates with genetically normal embryos are much higher that than without

testing.

           17.   Two weeks after an embryo is transfer a blood test is performed for detection of

the pregnancy hormone, HCG. HCG is secreted into the bloodstream by an embryo that has

implanted in the uterus. If HCG is detected, the level is checked again in a week. If the HCG

level has at least doubled, it will be followed two weeks later by an ultrasound for detection of a

gestational sac and, later, by another ultrasound to detect a fetal heartbeat. Once a fetal heartbeat

is detected, the patient will be referred to her OB/GYN for obstetrics care for the duration of the

pregnancy.

           C.    The Cryopreservation Process and Vitrification

           18.   Vitrification is the practice of cryopreserving an egg or embryo with extremely

rapid cooling and has been preferred method for cryopreservation in the IVF laboratory for two

decades. In the context of freezing eggs and embryos, vitrification cools the tissue so rapidly that

that the water molecules within the tissue do not have time to form ice crystals. Instead, the cells

of the tissue instantaneously transform into glass-like structures. This overcomes the primary

difficulty with freezing any cell of the human body, which is that the fluid inside of the cells can

form tissue-damaging ice crystals.

           19.   Vitrification uses an extremely quick cooling rate (approximately 15,000°C/min)

for near-instantaneous transformation. Furthermore, vitrification suspends cryopreserved




                                                  6
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samples in a lattice structure that does not have ice crystal formation as a side effect. Many

studies have shown very minimal damage is caused by the vitrification process. Additionally,

vitrification technology allows specimens to be stored indefinitely, with little or no negative

impact from the length of time the sample is stored.

       20.     Both vitrification and the subsequent thaw of vitrified tissue require precise

execution by a skilled embryologist. In particular                           liquid nitrogen and the

cryoprotectants that are a necessary element of

                                                       toxic cryoprotectant that is widely used to

vitrify eggs and embryos is dimethyl sulfoxide, or DMSO.1

       21.     Both the rates of cooling and of thawing are critical for success with vitrification.2

Preventing the formation of ice crystals during the thawing procedure is of paramount

importance and the procedure must be completed quicky and under strict temperature control. 3

Ice crystal formation can occur during the warming process starting at -150°C through -132°C. 4

Properly performed vitrification and subsequent thaw avoids ice crystal formation, allowing

complete survival and high viability rates of the vitrified tissue.

       D.      Cryogenic Storage Containers

       22.     IVF laboratories use cryogenic storage containers holding liquid nitrogen to

maintain eggs and embryos in a vitrified state. There are several different shapes and sizes of




1
  See Modulating the Structure and Properties of Cell Membranes: The Molecular Mechanism of
Action of Dimethyl Sulfoxide, J Phys. Chem. B. 2007. https://doi/10.1021/jp073113e
2
  Factors affecting the outcome of human blastocyst vitrification
Reprod Biol Endocrinol. 2009; 7: 99
3
  Id.
4
  The relevance of ice crystal formation for the cryopreservation of tissues and organs
January 2010Cryobiology 60(3 Suppl):S36-44


                                                  7
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cryogenic storage containers utilized by IVF labs, but they are all are thermally insulated with a

vacuum jacket.

       23.     Liquid nitrogen maintains a temperature of -196°C, and eggs and embryos are

typically stored fully submerged within it. Below is an example of a cryogenic storage container

used by PFC, shown from the side and from above:




       24.     The vacuum layer between a cryogenic cont

allows it to maintain the low temperatures that vitrified eggs and embryos require. That vacuum

space impedes heat transfer from the room-temperature IVF laboratory to the interior of the tank,

where the liquid nitrogen and cryopreserved tissue are stored at -196°C.

       25.     Some of the cryogenic cont                             ill warm up and evaporate

over time, but only a relatively small portion, which can be replenished by adding more liquid

nitrogen. The vacuum insulation used in cryogenic containers is so effective at impeding heat

transfer, that it can take weeks for all the liquid nitrogen stored within a container to evaporate.


                                                  8
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       26.     Cryogenic storage containers are a critical component of the IVF process as they

regulate the temperature of the cryopreserved reproductive material and keep vitrified eggs and

embryos much colder than -150°C, at which threshold damaging ice crystal formation can begin.

       E.      IVF Outcome Data

       27.     IVF clinics in the U.S. have been required to register themselves as IVF

practitioners and report their treatment data to the CDC since 1992, either directly or through the

Society for Assisted Reproductive Technology (SART). 5 SART requires clinics to provide

hundreds of data fields that conve                                  patients, IVF cycles, and thaw

attempts. This data must be reviewed by the repo                           rector, who verifies the

authenticity of the information prior to submission. 6 SART then makes aggregate data available

to the public through its website, where prospective IVF patients and other interested parties can

review the IVF success rates achieved nationally and by individual fertility clinics. 7

       28.     There are several discrete phases involved in a frozen embryo transfer, and

success rates can be measured and reported for each of them. For instance, each time PFC

attempted to thaw a frozen egg or embryo, it would record whether or not the tissue appeared to

survive the thaw process when viewed under a micro

calculated from these numbers to report the percentage of frozen eggs or embryos that survive

the thaw process.




5
 The Fertility Clinic Success Rate and Certification Act,
https://www.cdc.gov/art/nass/policy.html
6
  National ART Surveillance
https://www.cdc.gov/art/nass/index.html#accuracy
7
  Understanding the SART Clinic Report
https://www.sart.org/patients/fyi-videos/understanding-the-sart-clinic-report/


                                                  9
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       29.     Following a successful thaw, an oocyte will typically undergo an insemination

procedure, after which it will be incubated and any resulting embryo will be allowed to develop

in culture for several days. Fertilized eggs that successfully develop into viable embryos are then

                                                   for later transfer, or discarded. Embryos do not

need to undergo as complicated of a procedure upon thaw, but will likewise either be transferred,

refrozen for a later transfer (for example if the embryos was thawed for PGT), or discarded

(which while rare, could occur if prior to transfer or refreezing, the embryo no longer appeared

viable under the microscope). PFC records the ultimate disposition of all eggs and embryos that

it thaws, marking each as either transferred, refrozen, or discarded. The retention rate can be

calculated to determine the percentage of eggs or embryos that both survive thaw and develop

into viable embryos, providing another benchmark rate of success.

       30.     Two more benchmarks for IVF success that are typically tracked and reported are

the percentage of embryos that result in a clinical pregnancy following transfer, and the

percentage of clinical pregnancies that lead to at least one live birth. PFC tracks both of these

outcomes for all frozen embryos transfers, which can be used to generate both an implantation

success rate and a live birth success rate.

       F.

       31.     To assess whether the eggs and embryos stored in Tank 4 at the time of the

incident were damaged, I was asked to review the success rates for eggs and embryo thawed

and/or transferred at PFC prior to the Tank 4 incident and after the incident. To facilitate this

comparison, PFC produced several data sets.8 One source of relevant data was a 360-column



8
  MSO26787, MSO026942, MSO026859, MSO027014 (8/5/20), and MSO027014 (9/24/20). I
understand that actual production occurred through Pacific MSO, LLC, which operates the PFC
lab; for simplicity, I refer to PFC and Pacific MSO, LLC interchangeably in this report.


                                                 10
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spreadsheet that PFC prepared from outcome data it downloaded from the SART portal.9 This

was certified data that PFC had provided to SART, but it had two significant limitations: it only

covered the period between 2012-2018, and it only provided cycle-level data. PFC also provided

comprehensive data from its internal eIVF database, which covered the period from January 1,

2012, through August 3, 2020; included both cycle-level data that covered all frozen embryo

transfers and tissue-level data that covered all thaws associated with each cycle; and identified

the PFC Tank where the tissue was stored prior to thaw. 10 PFC would later supplement the

tissue-level data to identify any prior Tissue IDs associated with each thawed egg or embryo. 11

The prior Tissue IDs made it possible to identify not only whether a given egg or embryo was

stored in Tank 4 at the time of thaw, but also whether an embryo had previously been stored in

Tank 4 or was derived from an egg that had been stored in Tank 4. Finally, PFC produced a

spreadsheet that one of its embryologists used to keep track of all thaws and transfers of any

material stored in Tank 4 at the time of the Incident. 12

        32.                                             a single spreadsheet and provided to

Nicholas Jewell, Ph.D., a professor of biostatistics, who calculated the success rates obtained by

PFC patients before and after the Tank 4 incident and opined on the statistical significance of the

respective success rates.13 The data set provided to Professor Jewell included all columns from

the eIVF data produced by PFC needed to determine a thaw success rate, a retention rate after

thaw, an implantation success rate, and a live birth success rate. It also included potentially

relevant data such as whether



9
  MSO26787
10
   MSO026942 (cycle-level data); MSO027014 (8/5/20) (tissue-level data)
11
   MSO027014 (9/24/20)
12
   MSO026859
13
   PFC Outcome Data 10-1-20.xlsx


                                                  11
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at the time of retrieval, and gravidity. These factors may impact IVF success rates and were

provided to Professor Jewell to permit him to test for any confounding effects in the data. 14 The

data was compared against SART data prior to submittal to Dr. Jewell, and in the event of a

conflict, the SART data was used unless it was evident from the surrounding data that the SART

data was incorrect. The data was also compared against the Tank 4 spreadsheet to ensure that all

tissue affected by the Tank 4 Incident had been properly identified as such.

        33.    The spreadsheet provided to Professor

blastocyst thaws, one for oocyte thaw, one for transfers, and one for pregnancies. The data PFC

provided only identified the tissue at the time of its first freeze, so a manual review of the data

was necessary to properly characterize frozen blastocysts that were previously frozen eggs. All

blastocyst and oocyte thaws between January 1, 2020, and August 3, 2020, were included.

        34.    Transfer data covered the time period between January 1, 2020 to April 10, 2020.

PFC stopped performing IVF transfers for several weeks after April 10, 2020, due to the

COVID-19 pandemic, and the Treatment Outcome was incomplete for transfers performed in

June, July, and August 2020, as it can take a few months for fertility clinics to obtain clinical

pregnancy results from patients and enter the outcome in their internal databases. Pregnancy data

covered the time period between January 1, 2020, and October 31, 2019, with more recent

pregnancies excluded due to incomplete outcome data for women who may have still been

pregnant on August 3, 2020 (when the data was compiled by PFC) or who had not yet reported

the outcomes of their pregnancy to PFC.



14
  An Analysis of the Effect of Age on Implantation Rates. J Assist Reprod Genet 17,
(2000). https://doi.org/10.1023/A:1009422725434; Donor age is a major determinant of success
of oocyte donation/recipient programme, Human Reproduction, Volume 27, Issue 1, January
                        https://doi.org/10.1093/humrep/der359


                                                  12
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         35.    Prof. Jewell also calculated and analyzed success rates for PFC patients with eggs

or embryos in Tank 4 on December 30, 2013, and January 20, 2014, when I understand Chart

contends Tank 4 may have run out of liquid nitrogen. A second spreadsheet was provided to

Professor Jewell for this purpose that identified whether particular tissue was in the tank on those

dates.15 This spreadsheet also corrected the



and corrected the



                        These errors in PFC

included any 2012-13 thaws or transfers in his analysis.

         36.    I have reviewed the various data sets produced by PFC as well as the spreadsheets

used by Prof. Jewell to conduct his analysis. I believe the spreadsheets used by Prof. Jewell were

appropriately prepared and that appropriate efforts were made to correctly address



data, and believe that the potential confounding variables he cons

                                                 propriate factors to consider when assessing

whether differences between the types of eggs and embryos stored in

                                                     success rates that have been achieved to date

using Tank 4 tissue.




15
     PFC Outcome Data 10-19-20.xlsx


                                                13
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IV.      OPINIONS

         A.      Tank 4 Failed to Perform as Safely as Ordinary Users Expect

         37.     I have worked with cryogenic storage containers for more than 30 years. I have

 worked with many types and manufacturers of cryogenic storage containers. It is my opinion

 that Tank 4 did not perform as safely as an ordinary user of cryogenic storage containers, like

 myself and the embryologists I work with every day, would expect it to perform when used or

 misused in an intended or reasonably foreseeable way.

         38.     In my experience, ordinary users of cryogenic storage tanks expect them to be

 capable of safely storing sensitive biological samples at cryogenic temperatures for a minimum

                                                      t Specialist, Ramón Gonzalez, in this regard.

 Mr. Gonzalez states that Chart freezers
                                           16
                                                As Mr. Gonzalez points




                                                                                 17
                                                                                      Users do not

 expect the vacuum layer to degrade to the point the tank needs to be replaced or re-vacuumed

 prior to ten years.

         39.     Users of cryogenic tanks, like myself, also do not expect them to suffer a sudden

 and total loss of vacuum insulation (as opposed to a gradual degradation of the vacuum layer).

 Nor do they expect that the tank could consume more than 14 inches of liquid nitrogen in less

                                                         As one a regulatory representative for Chart




 16
      CHART050770
 17
      Id.


                                                    14
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                                                                      18


Quality Engineers similarly affi
                                                       19
and temperature for quite

                                      rt vacuum-insulated vessels provide hold times of at least 7
         20
              The risk management team assigned the possibility of total vacuum loss like that
                                                                                                 21
suffered by Tank 4 to the lowest

Based on my 30 years of experience working with cryogenic vessels, I agree with those

assessments. No reasonable user of cryogenic containers expects the tank to suffer a total

vacuum loss and suddenly lose its ability to maintain sensitive biological samples at cryogenic

temperatures.

        40.                                             uum insulation is extremely hazardous for

the biological materials stored inside, which are at a severe risk of cellular damage or death when

exposed to warmer temperatures. The threat is especially severe because unlike gradual vacuum

failures, total vacuum failures are not preceded by warning signs that could allow preventative

action to be taken. A tank that has been in use for more than ten years and is losing vacuum due

to gradual degradation will display observable physical
                                                hysical symptoms.



                                                                22
                                                                     None of the many




18
   CHART055224 at 55230
19
   1/14/20 Junnier Dep. 72:14-73:07
20
   CHART001432, DFMECA, N6
21
   CHART001432, DFMECA, P47; Risk Estimation, K6
22
   See 1/23/20 Brooks Dep. at 139


                                                 15
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embryologists who interacted with Tank 4 in the days, weeks, or months prior to its failure

observed any such symptoms, according to their deposition testimony.

        41.                                                 rm as safely as an ordinary user like

myself would expect was its physical appearance after it failed. The significant distortion of the

inner tank wall, as shown in the photograph below, is highly unusual and not something that a

typical user of cryogenic containers has likely ever encountered. I have worked with cryogenic

containers for 30 years and have never seen or heard of a vessel deforming in the way that Tank

4 deformed. The PFC embryologists who saw Tank 4 after it failed affirmed that they too had

never seen a tank deform in that way and did not even know that cryogenic tanks could fail in

that manner.23

        42.      For all of these reasons, I am of the opinion that Tank 4 did not perform as safely

as an ordinary user of cryogenic storage containers would have expected.




23
 See, e.g., 8/31/20 Crimele Dep. at 131-32; 10/9/19 Conaghan Dep. at 143; 8/27/20 Fischer
Dep. at 173-74; 8/28/20 Buchanan Dep. at 47


                                                  16
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          B.      The Eggs and Embryos Stored in Tank 4 Were Damaged

          43.     As an embryologist, it would be extremely concerning to me if I knew that a



previously explained, when vitrified eggs and embryos are exposed to temperatures between -

150°C and -132°C, ice crystals are likely to form within the eggs

significant cellular damage or death.

          44.     I have reviewed the IVF success rates achieved by PFC patients using eggs and

embryos that were stored in Tank 4 at the time of the incident on March 4, 2018. 24 These rates

are                    han the success rates typically
                                             typi      achieved by PFC and confirm that the Tank 4

incident did indeed cause considerable damage to the eggs and embryos stored in Tank 4 at the




24
     11/6/20 Expert Report of Nicholas P. Jewell, Ph.D.


                                                  17
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                 i.    Tank 4 Embryos Fail to Successfully Thaw at

          45.

Incident success rates. The Pre-Incident rates were calculated from outcome data for PFC

patients who started an IVF cycle in 2017 using their own eggs, while the Post-Incident rates are

calculated from outcome data for PFC patients who had eggs or embryos stored in Tank 4 on

March 4, 2018.

          46.    The first table summarizes the thaw success rates for frozen embryos from the

Pre-Incident and Post-Incident populations:

                                 Thaw Success Rates - Embryos25




          47.    The % Survived Thaw row shows the percentage of embryos that PFC recorded

as surviving the thaw process, while the % Viable for Transfer row shows the percentage of

embryos that were deemed suitable for transfer and were either transferred at that time or

refrozen for later use; the remaining embryos were marked by PFC as discarded. Under ordinary

circumstances, nearly all frozen embryos should survive the thaw process and be suitable for

implantation. But after the Tank 4 incident,                 of the embryos
                                                                    embr    were found to have

survived the thaw process and               were suitable for transfe



                                                                                    When given


25
     11/6/20 Expert Report of Nicholas P. Jewell, Ph.D., Tables 1-2


                                                 18
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the chance to equilibrate, the cell structure collapsed and it became apparent that the embryo was

dead. In fact, as explained below, PFC likely transferred dead embryos on several occasions but

did not realize it at the time because the tissue was not given enough time to equilibrate. It is

therefore likely that the true survival rate forr Tank 4 tissue is

The fact that the survival rate and viability rates of Post-Incident thaws are                 han

the typical and expected rates is an unmistakable indication that the Tank 4 incident severely

damaged the tissue stored in Tank 4 at the time

non-viable for use in an IVF transfer.

                 ii.   Tank 4 Eggs Fail to Successfully Thaw at

          48.    The next table summarizes the thaw success rates for frozen eggs from the Pre-

Incident and Post-Incident populations:

                                      Thaw Success Rates - Eggs26




          49.    As explained above, oocytes are more fragile than embryos and pose a greater

challenge to successfully cryopreserve. So wher

embryos was                                 its success rate when thawing eggs,

                              Eggs exposed to the
                                              th Tank 4 incident, however, hav              rvived

the thaw procedure           of the                                  than expected. This is another

strong indication that Tank 4 tissue was indeed damaged by the incident.


26
     11/6/20 Expert Report of Nicholas P. Jewell, Ph.D., Tables 5-6


                                                   19
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          50.     The % Viable for Transfer row reflects the percentage of oocytes that survived the

thaw procedure, were successfully fertilized, and developed into an embryo suitable for transfer.

Historically, PFC patients could expect to get roughly one viable embryo for every ffive frozen

eggs. After the Tank 4 incident, however, the viability
                                                  ility rate                      so that now it

would take an average of        frozen eggs to create          viable embryo.

                  iii.   Tank 4 Transfers Are                to Lead to a Pregnancy

When tissue exposed to the Tank 4 incident has survived the thaw process and developed into an

embryo deemed suitable for transfer, the ensuing transfer has led to some pregnancies and live

                                         te than Pre-Incident transfers.
                                                                     27




          51.     The pregnancies and live births achieved from Tank 4 embryo transfers are

r               of the Pre-Incident success rates. This is yet another indication that the Tank 4

tissue was damaged by prolonged exposure to high temperatures on March 4, 2018. It is likely

that a significant number of the Tank 4 transfer attempts used embryos that appeared potentially

viable but were actually dead. Tank 4 embryos were often transferred shortly after thaw, but it

can take several hours for cell death to become apparent under the microscope.




27
     11/6/20 Expert Report of Nicholas P. Jewell, Ph.D., Tables 7-8


                                                   20
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                   iv.                                                 Success Rates on Plaintiffs

          52.      The       success rates obtained from Post-Incident Tank 4 eggs and embryos are

cumulative, and the end result for affected PFC patients is a                       chance of

obtaining a live birth. The table below shows the comparative likelihood that a frozen egg or

frozen embryo would lead to a live birth before and after the incident.

                                        Overall Success Rates28




          53.      For both eggs and embryos, the chance of a live birth has been

by the Tank 4 incident. The chance that a frozen egg will lead to a live birthh is about

        than it was prior to the incident. And the chance that a frozen embryo will lead to a live

birth is about f

          54.      The impact for Plaintiffs can be similarly quantified using the number of eggs or

embryos each Plaintiff had stored in Tank 4. The table below shows (i) the average results I

would have expected Plaintiffs to achieve Pre-Incident based on the success rates achieved by

PFC patients with similar egg ages who attempted frozen embryos transfer at PFC between

2012-20 (excluding tissue affected by the Tank 4 Incident); and (ii) the average results I would

expect Plaintiffs to achieve Post-Incident based on the success rates achieved by those PFC

patients who attempted to use eggs or embryos stored in Tank 4 at the time of the Incident. The

Post-Incident results are calculated using overall success rates achieved using Tank 4 tissue, as

Prof. Jewell did not find that the


28
     11/6/20 Expert Report of Nicholas P. Jewell, Ph.D., ¶¶ 76-78.


                                                   21
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                 Effect of Tank 4 Incident on                                          29




          55.    Plaintiff E.F., for example, had 9 frozen eggs that were retrieved when she was 34

                                                                 age of
years old. Prior to the incident, she could have expected an average            live births from those

frozen eggs and a         chance of obtaining
                                    ob        at least one live birth. After the incident, however,

Plaintiff E.F. can       expect an average of          ive births from
                                                                  from her eggs and she has     a

       chance of obtaining at least one live birth.

          56.    Were she to choose to use these damaged eggs, E.F. would be required to undergo

the same physically, mentally, and emotionally exhausting process as if she were transferring

healthy tissue. It is not advisable to thaw the tissue beforehand to see if it survives, and only then

undergo the protracted series of hormones, injections, blood tests, and vaginal ultrasounds

necessary for a frozen embryo transfer. The reason is that each time an egg or embryo is frozen it

suffers some amount of cellular damage. That damage is typically insignificant on the first

freeze, but each additional freeze

already been affected by the Tank 4 incident.




29
     11/6/20 Expert Report of Nicholas P. Jewell, Ph.D., Tables 2, 6, 8, 23, 25-26


                                                      22
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                                                                                                  30


As an embryologist, I too would strongly recommend against thawing and refreezing Tank 4

tissue.

          57.   Plaintiff E.F. also would be required to accept the added risk that a baby born

using damaged Tank 4 tissue will suffer adversee consequences after birth.




                                                                              31


President, Carl M. Herbert, M.D., explained, there is no information in the scientific or medical

literature about what clinical or developmental consequences may arise as a result of using Tank

                                               ere you thaw a human embryo uncontrollably and
                                                      32
then try to make a baby

          58.   For example, as discussed above, some of the cryoprotectants used in the freezing

process have been shown to be toxic to animals.33 Under normal IVF conditions, eggs and

embryos are not meaningfully exposed to these                                only very briefly and

precisely exposed during the freezing process and are not at risk while in the vitreous state. No

testing has been done on whether thawed eggs or embryos exposed to these cryoprotectants for a

prolonged period under uncontrolled conditions suffer harm.




30
   MSO011539, MSO011573
31
   MSO_PWCK_000069
32
   10/01/2019 Herbert Dep, 240:8-10
33
   "Dimethyl sulfoxide (DMSO) produces widespread apoptosis in the developing central
nervous system". Neurobiology of Di
2682536. PMID 19100327


                                                 23
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        59.     Of the babies that have been born using Tank 4 tissue,           were born with low

                               the normal rate.34 Low birthweights are associated with increased
                                                                    35
risk for a variety of health

        60.     The uncontrolled and largely unprecedented exposure of Tank 4 tissue to high

temperatures and cryoprotectants, the                      success rates achieved from Tank 4 tissue

throughout the IVF process, and the          rate of low birthweights that
                                                                      th have resulted from Tank 4

pregnancies to date, all raise serious concerns about the long-term risks associated with the

transfer of embryos affected by the Tank 4 incident. The decision of whether to use Tank 4 tissue

is ultimately up to the patient, but as an embryologist, I would have serious reservations about

using Tank 4 tissue to attempt a frozen embryo transfer.

        C.      Tank 4 Eggs or Embryos Were Not Damaged Before March 2018

        61.     I understand that Chart contends that the tissue in Tank 4 may have been damaged

prior to the March 2018 incident. In particular

                                                        s electronic controller recorded liquid

                                                                               ontroller was disabled

                                     liquid nitrogen dropped to 0.90 inches.36

        62.     I have reviewed the testimony from the embryologists working in or around Tank

                                               ectronic controller in 2013 and 2014, the manual

liquid nitrogen level logs kept by PFC in February and March 2008, and the success rates

calculated by Dr. Jewell for tissue that was stored in Tank 4 on the dates in question and used

prior to the March 2018 Tank 4 incident. I find no evidence that the eggs or embryos stored in



34
  http://dx.doi.org/10.15585/mmwr.ss6804a1
35
   Id.
36
   01/10/20 Expert Report of K. Gustafson, ¶¶ 20-24, 33


                                                   24
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Tank 4 were damaged by exposure to high temperature or other adverse environmental

conditions prior to March 4, 2018.

         63.     The embryologists who were working in or around Tank 4 on December 30,

2013, or January 20, 2014, have testified that Tank 4 did not run out of liquid nitrogen and they

would have been aware if it had. Having designed and directed multiple IVF labs, I can attest

that if one of the cryogenic storage containers ran out liquid nitrogen, that would be a very

serious event and one that everyone working in the IVF lab that day would be likely to know

                                                       nk 4 did run out of liquid nitrogen on March 4,

2018.

         64.     In addition, as Chart has acknowledged, a

that there is no liquid nitrogen left in the tank. The electronic controller could be incorrect. It also

could mean only that there was less than 1.3 in

electronic controller had a level offset of 1.3 inches in 2013 and 2014, which means that it will

                                                 d nitrogen level falls to 1.3 inches or below.37

Eggs and embryos are typically stored in the very bottom of cryogenic storage straws, which are

in turn stored in the very bottom of the cryogenic container. In the case of Tank 4, Dr. Conaghan

has affirmed that the affected tissue was stored in a single layer on the bottom few millimeters of

the tank, and embryologist Erin Fischer testified similarly. 38 Even if the recorded liquid nitrogen

level dropped below an inch, the samples would still be submerged in liquid nitrogen and not

exposed to dangerously high temper




37
     Id. ¶ 24; 02/06/20 Gustafson Dep., 267:19-268:21
38
     10/09/19 Conaghan Dep., 121:8-18; 08/27/20 Fischer Dep., 99:7-14.


                                                  25
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                                39
                                     In fact, the temperature

electronic controller in
                                                                            0


         65.   With respect to the February 26, 2018

nitrogen level are based on the assumptions for daily liquid nitrogen consumption, liquid

nitrogen fill rates, and the volume of samples in the tank that can vary from day to day and tank

to tank, and therefore are unlikely to be accurate assumptions. 41 During this time period, Tank



                                                                                            42


         66.                                              while the electronic controller was

malfunctioning,
                                                                                   43
                                                                                        I have

reviewed those logs and find that they evidence much higher levels of liquid nitrogen than those

estimated by Chart.

         67.   If the eggs and embryos stored in Tank 4 had been exposed to dangerously high

conditions as Chart contends, I would expect that the success rates achieved with tissue stored in

Tank 4 on December 30, 2013, or January 20, 2014, and used prior to March 4, 2018, would be

significantly lower than the success rates achieved by PFC using other tissue. In fact, Dr. Jewell

found                                         between those success rates.44




39
   See CHART016303 at 16342, 16397
40
   CHART070093
41
   01/10/20 Expert Report of K. Gustafson, ¶¶ 27-28
42
   MSO001982 at 1986
43
   Id.
44
   11/6/20 Expert Report of Nicholas P. Jewell, Ph.D., ¶ 43.


                                                  26
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        68.     The table below shows the success rates ac

in Tank 4 on December 30, 2013 or January 20, 2014 (but not on March 4, 2018), alongside the

success rates achieved by PFC for all patients in 2013. If anything,

performed better than the 2013 baseline.

                                Embr     Tr n f r S          R t   45




        69.     As an embryologist, these numbers are conclusive evidence that the eggs and

embryos stored in Tank 4 on December 30, 2013, or January 20, 2014, were not exposed to

dangerously high temperatures or otherwise affected by adverse environmental conditions.

        70.              embryos were thawed between the

liquid nitrogen levels dropped near zero, on February 26, 2018, and the March 4, 2018 Incident.

But it is notable that

survived the thaw process and were deemed suitable for transfer.47 If tissue in Tank 4 was

damaged on February 26 instead of March 4, it is exceedingly unlikely that      embryos would



45
   11/6/20 Expert Report of Nicholas P. Jewell, Ph.D., Tables 11-12, 17-20
46
   All numbers are for patients who supplied their own egg with the exception of egg thaws,
which are reported for patients who used donor eggs. Only 2 cycles of patient eggs were thawed
in 2013, making a comparison impractical.
47
   Cycles 32512, 33009, 33236, 33276, 33346, 33380, 33443, 33543


                                                27
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have remained viable for transfer. Prof. Jewell calculated that the damaged embryos made from

patient eggs have               chance
                                ch     of remaining viable upon thaw and damaged embryos made

from donor eggs have                chance. The chance that       embryos would be viable if they
                                                                                  48
were in fact damaged is therefore approximately                                        Based on the

success achieved thawing these                     w the Reflections logs indicating that liquid
                                    embryos, along with

nitrogen was refilled and manually measured on a daily basis, it is apparent to me as an

embryologist that Tank 4 tissue was damaged on March 4, 2018, and not on February 26, 2018,

or any other earlier date.

V.        Materials Reviewed

§ Second Amended Consolidated Class Action Complaint
§ A.A. v. Chart Complaint
§ SART data published at www.SART.org
§ CDC data published at www.CDC/ART.org


including responsive documents
§ 09/10/19 Deposition of Pacific MSO and Alden Romney
§ 10/01/19 Deposition of Dr. Carl Herbert
§ 10/08/19 Deposition of Caitrin Best
§ 10/09/19 Deposition of Pacific MSO and Joseph Conaghan
§ 12/04/19 and 02/11/20 Deposition of PFC and Eldon Schriock
§ 01/14/20 Deposition of Justin Junnier
§ 01/23/20 Deposition of Jeff Brooks
§ 2/06/20 Deposition of Keith Gustafson
§ 08/27/20 Deposition of Erin Fischer
§ 08/28/20 Deposition of Jennifer Andres
§ 08/28/20 Deposition of Kathrin Buchanan
§ 08/31/20 Deposition of Gina Cirimele
§ 09/02/20 Deposition of Jinnuo Han


48
     0.44 x 0.44 x 0.44 x 0.44 x 0.38 x 0.38 x 0.38 x 0.38 = 0.0008 or 0.08%



                                                 28
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